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 6 Attorney for Plaintiff
 7 JOICE ANN HARROLD
 8
                             UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                   WESTERN DIVISION
11
12 JOICE ANN HARROLD,                      Case No. 2:21-cv-01478-MAA
13
            Plaintiff,                     ORDER FOR THE AWARD AND
14                                         PAYMENT OF ATTORNEY FEES AND
15                 v.                      EXPENSES PURSUANT TO THE
                                           EQUAL ACCESS TO JUSTICE ACT
16 KILOLO KIJAKAZI, Acting
17 Commissioner of Social Security,
18              Defendant.
19
20        Based upon the parties’ Stipulation for the Award and Payment of Equal Access

21 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
22 amount of $5,200.00 as authorized by 28 U.S.C. § 2412 be awarded subject to the terms
23 of the Stipulation.
24 DATE: 10/15/21                        ____________________________________
25                                       HON. MARIA A. AUDERO
                                         UNITED STATES MAGISTRATE JUDGE
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